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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                        UNITED STATES DISTRICT COURT                              June 10, 2022
                                                                               Nathan Ochsner, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                             VICTORIA DIVISION

The STATE OF TEXAS and the             §
STATE OF LOUISIANA,                    §
                                       §
       Plaintiffs,                     §
                                       §
v.                                     §                 Civil Action No. 6:21-CV-00016
                                       §
The UNITED STATES OF AMERICA;          §
ALEJANDRO MAYORKAS, Secretary          §
of the United States Department of     §
Homeland Security, in his official     §
capacity; UNITED STATES                §
DEPARTMENT OF HOMELAND                 §
SECURITY; TROY MILLER, Senior          §
Official Performing the Duties of the  §
Commissioner of U.S. Customs           §
and Border Protection, in his official §
capacity; U.S. CUSTOMS AND BORDER §
PROTECTION; TAE JOHNSON, Acting §
Director of U.S. Immigration and       §
Customs Enforcement, in his official   §
capacity; U.S. IMMIGRATION AND         §
CUSTOMS ENFORCEMENT; TRACY             §
RENAUD, Senior Official Performing     §
the Duties of the Director of the U.S. §
Citizenship and Immigration Services,  §
in her official capacity; and U.S.     §
CITIZENSHIP AND IMMIGRATION            §
SERVICES,                              §
                                       §
       Defendants.                     §

                                  FINAL JUDGMENT

      For the reasons stated in the accompanying Memorandum Opinion and Order

issued under Rule 52 of the Federal Rules of Civil Procedure on this date, it is hereby
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        ORDERED and ADJUDGED that Final Judgment is entered in favor for the

Plaintiffs on Counts I, II, III, and IV in the Amended Complaint. See (Dkt. No. 109 at 26–

32).

        ORDERED and ADJUDGED that Final Judgment is entered in favor of the

Defendants on Count V in the Amended Complaint. See (Dkt. No. 109 at 32–33).

        ORDERED and ADJUDGED that the Court does not reach Count VI in the

Amended Complaint. See (Dkt. No. 109 at 33–34).

        The Court DECLARES UNLAWFUL and VACATES, in its entirety, the Secretary

of Homeland Security’s September 30, 2021 memorandum titled Guidelines for the

Enforcement of Civil Immigration Law. (Dkt. No. 109-5). The Court REMANDS this matter

to the Secretary of Homeland Security for further consideration. The Court DENIES all

other requested relief.

        The Court STAYS the effect of this Final Judgment for seven days from the date

of entry to allow the Defendants to seek relief at the appellate level.

        It is SO ORDERED.

        Signed on June 10, 2022.


                                                  ___________________________________
                                                            DREW B. TIPTON
                                                  UNITED STATES DISTRICT JUDGE




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